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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

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                                                ..........................................
VIRGINIA L. GIUFFRE,

        Plaintiff,
v.                                                                                           15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.


--------------------------------------------------X

                            Declaration Of Laura A. Menninger In Support Of
                     Reply to Plaintiff’s Opposition to Defendant’s Motion To Reopen
                                            Plaintiff’s Deposition

        I, Laura A. Menninger, declare as follows:

        1.       I am an attorney at law duly licensed in the State of New York and admitted to

practice in the United States District Court for the Southern District of New York. I am a

member of the law firm Haddon, Morgan & Foreman, P.C., counsel of record for Defendant

Ghislaine Maxwell (“Maxwell”) in this action. I respectfully submit this declaration in support of

Reply to Plaintiff’s Opposition to Defendant’s Motion To Reopen Plaintiff’s Deposition.

        2.       Attached as Exhibit O (filed under seal) are true and correct copies of select pages

of Plaintiff’s medical records bates labeled GIUFFRE 5089, 5316-18, 6631, designated as
                                                                                                               -
Confidential under the Protective Order.

        3.       Attached as Exhibit P (filed under seal) are true and correct copies of excerpts

from the deposition of Anthony Figuera, designated as Confidential under the Protective Order.
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Dated: July 8, 2016




                                                   By: /s/ Laura A. Menninger
                                                   Laura A. Menninger



                                CERTIFICATE OF SERVICE

       I certify that on July 8, 2016, I electronically served this Declaration Of Laura A.

Menninger In Support Of Reply to Plaintiff’s Opposition to Defendant’s Motion To Reopen

Plaintiff’s Deposition via ECF on the following:


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                                                    /s/ Nicole Simmons
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